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                      UNITED STATES DISTRICT COURT
6                  WESTERN DISCTRICT OF WASHINGTON
                               AT TACOMA
7     UNITED STATES OF AMERICA           NO. CR 10-5435 RJB
                                     Plaintiff,
8
                       v.                                    Order Granting Lewis’s Motion to
9                                                            Seal Brennan Declaration
      CHRISTOPHER LEWIS,
10
                                      Defendant.
11

12                                                     Order

13           Christopher Lewis, through his counsel, moves the Court to seal the 6/13/11

14   Declaration of Phil Brennan filed in connection with his sentencing memo. The
15   Court has reviewed the Brennan Declaration and finds that it contains sensitive
16
     information that warrants maintaining it under seal and outweighs the public’s right
17
     to access the same. Accordingly, the Clerk is directed to maintain the Brennan
18
     Declaration under seal.
19
             Dated this 17th day of June, 2011.
20

21
                                                  A
22                                                Robert J. Bryan
                                                  United States District Judge
23
     Order Sealing Declaration of Brennan             1                          PHIL BRENNAN, Esq.
                                                                                    P.O. Box 22837
                                                                                   Seattle, WA 98122
                                                                                    (206) 372-5881
